
PER CURIAM.
Affirmed. See Ortiz v. State, 768 So.2d 1177, 1177 (Fla. 2d DCA 2000); Moore v. State, 910 So.2d 947, 947 (Fla. 5th DCA 2005). Our affirmance is without prejudice to any right Marzuq Al-Hakim might have to file a timely and properly sworn motion for postconviction relief pursuant to Florida Rule of Criminal Procedure 3.850 following the disposition of his direct appeal in Al-Hakim v. State, No. 2D05-584 (Fla. 2d DCA Nov. 16, 2005).
STRINGER, VILLANTI, and LaROSE, JJ., Concur.
